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THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al.,! ) Case No. 01-01139 (JKF)
) (Jointly Administered)
Debtors. )

Hearing Date: April 9, 2007 at 9:00 a.m. Pittsburgh, PA
Response Deadline: March 19, 2007

NOTICE OF DEBTORS’ MOTION AND MEMORANDUM FOR AN ORDER
PURSUANT TO F.R.B.P. 7056 DISALLOWING AND EXPUNGING EIGHTY-EIGHT

(88) TIME-BARRED CANADIAN ASBESTOS PROPERTY DAMAGE CLAIMS

TO: Claimants identified in the Motion or their counsel, if known.

The above-captioned debtors and debtors in possession (collectively, the “Debtors”) filed
the Debtors’ Motion and Memorandum for an Order Pursuant to F.R.B.P. 7065 Disallowing and
Expunging Eighty-Eight (88) Time-Barred Canadian Asbestos Property Damage (the “Motion”)

with the United States Bankruptcy Court for the District of Delaware, 824 Market Street,

! The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),

W. R. Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc.,

CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food

‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and os
Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc, {f/k/a Grace Cocoa Limited ie
Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
H Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn Intemational Holdings, Inc.}, Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a
GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-
BNA, Inc.}, MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing}, Hayden-Gulch West Coal Company, H-G Coal Company.

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Wilmington, Delaware 19801 (the “Bankruptcy Court”). A true and correct copy of the Motion
is attached hereto.

Objections or other responses to the relief requested in the Motion, if any, must be
in writing and be filed with the Bankruptcy Court on or by March 19, 2007.

At the same time, you must also serve a copy of the objections or responses, 1f any, upon
the following: co-counsel for the Debtors, Janet Baer, Kirkland & Ellis LLP, 200 East Randolph
Drive, Chicago, Illinois 60601, James E. O’Neill, Pachulski Stang Zieh] Young Jones &
Weintraub LLP, 919 North Market Street, 17" Floor, P.O. Box 8705, Wilmington, DE 19899-
8705 (Courier 19801); James J. Restivo, Jr., Reed Smith LLP, 435 Sixth Avenue, Pittsburgh, PA
15219.

IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN ACCORDANCE
WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

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IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND
SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION
WILL BE HELD BEFORE THE HONORABLE JUDITH K. FITZGERALD AT THE
BANKRUPTCY COURT, ON APRIL 9, 2007 AT 9:00 4.M. U.S. BANKRUPTCY
COURT, 5414 U.S. STEEL TOWER, COURTROOM A, 600 GRANT STREET,

PITTSBURGH, PA 15219.

Dated: February 16, 2007

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-Counsel for the Debtors and Debtors in
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